Case 16-24295               Doc 80-1           Filed 08/29/18 Entered 08/29/18 14:51:57                                   Desc Proposed
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